                       Exhibit B




Case 1:19-cv-00593-LCB-JLW Document 1-2 Filed 06/13/19 Page 1 of 2
From: Sharonda Sampson                     @yahoo.com>
To: Gina Ford <ginaford@bellsouth.net>
Sent: Friday, May 31, 2019, 3:56:41 PM EDT
Subject: Marketing for Zion Williamson

May 31th, 2019


Dear Gina

Please let this email serve as notice that the Consulting and Joint Marketing and Branding Agreement entered
into between me, Zion Williamson, and Prime Sports Marketing LLC is hereby terminated and voided effective
immediately. Per my prior note and email, you are to cease all efforts and outreach on my behalf.

Thank you.

Zion Williamson




                                                         1



              Case 1:19-cv-00593-LCB-JLW Document 1-2 Filed 06/13/19 Page 2 of 2
